
47 So. 3d 23 (2010)
Scott Anthony PLAISANCE, et al.
v.
OUR LADY OF LOURDES REGIONAL MEDICAL CENTER, INC., et al.
No. 09-1502.
Court of Appeal of Louisiana, Third Circuit.
October 6, 2010.
Patrick M. Wartelle, Leake &amp; Andersson, L.L.P., Lafayette, LA, for Defendant/Respondent, Our Lady of Lourdes Regional Medical Center, Inc.
Ronald C. Richard, Richard Law Firm, L.L.C., Lake Charles, LA, for Plaintiffs/Applicants, Scott Anthony Plaisance, et al.
Court composed of JOHN D. SAUNDERS, MARC T. AMY, and ELIZABETH A. PICKETT, Judges.
AMY, Judge.
For disposition of this consolidated matter, see Scott Anthony Plaisance, et. al. v. Our Lady of Lourdes Regional Medical Center, et. al., 10-348 (La.App. 3 Cir. 10/6/10), 47 So. 3d 17. All costs of these proceedings are assessed to the plaintiffs-relators.
AFFIRMED.
